 Case 2:23-cv-06188-JMW Document 34 Filed 09/12/23 Page 1 of 2 PageID #: 962




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                                              September 12, 2023

Honorable Orelia E. Merchant
U.S. Federal District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

       Re:     Superb Motors, Inc., et al. v. Anthony Deo, et al.
               Case No. 2:23-cv-6188 (OM) (ST)

Your Honor:

       Please be reminded that this office represents Anthony Deo, Sara Deo, Dwight
Blankenship, Marc Merckling, Michael Laurie, Car Buyers NYC Inc., Gold Coast Cars of
Syosset LLC, Gold Coast Cars of Sunrise LLC, Gold Coast Motors Automotive Group LLC,
Gold Coast Motors of LIC LLC, Gold Coast Motors of Roslyn LLC, Gold Coast Motors of
Smithtown LLC, and UEA Premier Motors Corp., with respect to the above referenced action.

       Yesterday, Plaintiffs’ counsel emailed me requesting that I accept “service of process”
without any further explanation or definition of what was meant. I was working all weekend and
yesterday into the evening on the paperwork I filed early last night, including my limited Notice
of Appearance, and also including a problem with one exhibit (H) that took some time to fix and
upload separately. I did not see that email from counsel until today.

        Today, I received another, similar email asking me if I would accept “service of process.”
In advance of the Court’s scheduled conference on Thursday, I wanted everyone, especially the
Court, to understand my position on behalf of my clients, since it appears what I wrote in last
night’s Declarations is not clear given another similar email today.

        To date, counsel has mailed me three Orders from this Court. Neither I nor any other
Defendant, to my knowledge, has received a single document filed by Plaintiffs in this case. I
am asserting a lack of service as a defense to the requested injunctive relief as a preliminary
matter to conducting the conference/hearing. Also contained in my papers are substantive
defenses to the requested injunctive relief, and an offer to not dispose of any of the vehicles in
my clients’ possession pending further Order of this Court (Note: the parties do not agree which
vehicles are in my clients’ possession and also belong to Superb; on the night of the Lockout,
plaintiffs told the police that there were 102 such vehicles; Plaintiffs’ current list contains 89
vehicles; my clients indicate that 29 of the 89 currently listed vehicles are in their possession).
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 Case 2:23-cv-06188-JMW Document 34 Filed 09/12/23 Page 2 of 2 PageID #: 963




        To date, I have not received any request for accepting service of the Summons/Complaint
consistent with the requirements of F.R.C.P. Rule 4; if and when such a request is made of me
and/or my clients we will deal with the issue in due course consistent with Rule 4. As for the
injunction papers, we are not accepting service of those papers at this time; everyone is aware
that I wanted more time to deal with the issue and Plaintiffs not only refused to give me more
time but pushed for the matter to be decided immediately upon my return from being out of state,
which dates Plaintiffs were given before I left. Candidly, filing the papers they filed on the date
they knew I was leaving was not and could not be a coincidence. If the injunction papers are re-
filed and a renewed request to accept service is made, we will deal with that request at that time.

        No offense is intended to anyone, especially the Court, but I just don’t know how we can
proceed substantively on Thursday under these circumstances. The Defendants, all of them, have
never been given a document filed by Plaintiffs, and I am unaware of any obligation in the Rules
for the Defendants to search for those documents. Please also see my Declaration filed yesterday
along with Exhibit I, which bears directly and further on this issue.

       I remain,

                                             Very truly yours,

                                             /S/

                                             Harry R. Thomasson




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